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 4
      Attorney for Defendant
 5    MICHAEL MATHEWS
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 7
 8                                          UNITED STATES DISTRICT COURT
                                           EASTERN DISTRICT OF CALIFORNIA
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10
11    UNITED STATES OF AMERICA,                       )   Case No.: 15-0118 MCE
                                                      )
12                                    Plaintiff,      )   STIPUATION AND ORDER TO CONTINUE
13                                                    )   STATUS CONFERENCE AND EXCLUDE
      v.                                              )   TIME UNDER THE SPEEDY TRIAL ACT
14                                                    )
      MICHAEL MATHEWS ET. AL.                         )   DATE: December 10, 2015
15                                                    )   TIME: 9:00 a.m.
                        Defendants.                   )   COURTROOM: MORRISON C. ENGLAND
16    ________________________________                )   JR.
17
18              Plaintiff United States of America, by and through its counsel of record, and defendants
19    MICHAEL MATHEWS, EARSHELL HAYES, LEON FIELDS, and DAVID DIXON, by and
20    through their counsel of record, hereby stipulate as follows:
21    1.        By previous order, this matter was set for status December 10, 2015.
22    2.        By this stipulation, defendant now moves to continue the status conference until February
23    11, 2016, and to exclude time between December 10, 2015and February 11, 2016 under Local
24    Code T4. Plaintiff does not oppose this request.
25    3.        The parties agree and stipulate, and request that the Court find the following:
26              a.         The government has provided initial discovery of over 300 pages. Further
27    discovery is expected to be produced shortly.
28    ///
     U.S. v. Mathews, CR S 15-0118
     Stipulation to Continue Status
                                                           1
     Conference
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 1              b.         Counsel for defendants desire additional time to complete the review of

 2    discovery, to conduct defense investigation, and to discuss potential resolution with

 3    their clients. Counsels have also been continuing to engage in negotiations with the government.

 4              c.         Counsel for defendants believes that failure to grant the above-requested

 5    continuance would deny them the reasonable time necessary for effective preparation,

 6    taking into account the exercise of due diligence.

 7              d.         The government does not object to the continuance.

 8              e.         Based on the above-stated findings, the ends of justice served by

 9    continuing the case as requested outweigh the interest of the public and the defendant in

10    a trial within the original date prescribed by the Speedy Trial Act.

11              f.         For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

12    § 3161, et seq., within which trial must commence, the time period of December 10, 2015 to

13    February 11, 2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§

14    3161(h) (7) (A), B (iv) [Local Code T4] because it results from a continuance granted by

15    the Court at defendant's request on the basis of the Court's finding that the ends of

16    justice served by taking such action outweigh the best interest of the public and the

17    defendant in a speedy trial.

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     U.S. v. Mathews, CR S 15-0118
     Stipulation to Continue Status
     Conference
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 1    4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2    Speedy Trial Act dictate that additional time periods are excludable from the period within which

 3    a trial must commence.

 4              IT IS SO STIPULATED.

 5    Dated: December 8, 2015                                   /s/ Patrick K. Hanly
                                                                Attorney for Michael Mathews
 6
 7    Dated: December 8, 2015                                   /s/ Kelly Babineau
                                                                KELLY BABINEAU
 8                                                              Attorney for Earshell Hayes
 9
      Dated: December 8, 2015                                   /s/Philip Cozens
10
                                                                PHILIP COZENS
11                                                              Attorney for Leon Fields

12    Dated: December 8, 2015                                   /s/Gregory Foster
                                                                GREGORY FOSTER
13                                                              Attorney for David Dixon
14
                                                                Benjamin B. Wagner
15                                                              UNITED STATES ATTORNEY

16    Dated: December 8, 2015                         by:       /s/ Paul Hemesath
                                                                Assistant U.S. Attorney
17
18
                IT IS SO ORDERED.
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      Dated: December 10, 2015
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     U.S. v. Mathews, CR S 15-0118
     Stipulation to Continue Status
     Conference
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